     Case 1:10-cv-01062-ESH-TBG-HHK Document 2 Filed 06/22/10 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

STATE OF GEORGIA,
c/o Strickland Brockington Lewis LLP
1170 Peachtree Street NE
Suite 2200                                     CIVIL ACTION FILE
Atlanta, GA 30309-7200
                                               NO. _ _ _ _ _ _ _ __
       Plaintiff,
                                               THREE JUDGE PANEL
v.

ERIC H. HOLDER, JR., in his official
capacity as Attorney General of the
United States,
950 Pennsylvania Avenue, NW
Washington, DC 20350

       Defendants.


         PLAINTIFF'S APPLICATION FOR THREE-JUDGE COURT

       COMES NOW THE STATE OF GEORGIA, Plaintiff in the above-styled

case, and, pursuant to this Court's Rule LCvR 9.1, files this Application for a

Three-Judge Court. For the reasons set forth in the accompanying Memorandum

of Points and Authorities, the State of Georgia hereby requests, pursuant to Local

Civil Rule 9.1 and pertinent law, the appointment ofa three-judge court to

adjudicate this preclearance application under Section 5 of the Voting Rights Act,

42 U.S.C. § 1973c, and, in the alternative, a constitutional challenge to the




                                          1
   Case 1:10-cv-01062-ESH-TBG-HHK Document 2 Filed 06/22/10 Page 2 of 2




preclearance requirements of Section 5 of the Voting Rights Act, 42 U.S.C. §

1973c.


      This 21st day of June, 2010.


                                             Respectfully submitted,

                                              ~
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                                              of Georgia
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